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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE
                                            )
ENZOLYTICS, INC.,                           )
                                            )
         Plaintiffs,                        )
                                            )
        v.                                  ) C.A. No. 1:21-1599-RGA
                                            )
CIMARRON CAPITAL, LTD.,                     )
                                            )
                                            )
         Defendants.
                                            )
____________________________________
                                            )
ENZOLYTICS, INC,                            )
                                            )
      Plaintiff                             )
                                            )
          v.                                )
                                            )
KONA CONCEPTS, INC.,                        )
                                            ) C.A. No.: 1:21-cv-01600-RGA
      Defendant.                            )
                                            )
                                            )

                                NOTICE OF SERVICE


         I certify that on December 13, 2023, Defendants’ AMENDED RULE 26(a)(1)

 INITIAL DISCLOSURES were served on the following counsel of record via electronic

 mail:

             Antranig N. Garibian
             Garibian Law Offices, P.C.
             1010 Bancroft Parkway, Suite 22
             Wilmington, DE 19805
             215-326-9179
             ag@garibianlaw.com
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                                         O’KELLY & O’ROURKE, LLC
John J. Muldoon III (pro hac vice)
MULDOON & MULDOON, LLC                   By: /s/ Gerard M. O’Rourke
111 West Washington Street               Gerard M. O’Rourke (No. 3265)
Suite 1500                               824 N. Market Street, Suite 1001A
Chicago, IL 60602                        Wilmington, DE 19801
(312) 739-3550                           (302) 778-4000
jjm@muldoonlaw.com                       gorourke@okorlaw.com

                                         Counsel for Defendants

Dated January 4, 2024
